UNITED STATES DISTRICT COURT FOR THE ott
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EASTERN DISTRICT OF TENNESSEE ee Ph ee be
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UNITED STATES OF AMERICA )
y.5, $9 TRICT COURT
" ) NO. 3:07-CR-51 FASTERS DIST TEAR,
) Judge Thomas A. Vaylan..0.)
AARON BROOKS and )
LASHONDA HALL )

VERDICT FORM

We, the members of the jury, find unanimously and from all the evidence as follows:

As to Count One of the indictment charging a violation of 21 U.S.C. §§ 846 and 841, that
is conspiracy to distribute and possession with the intent to distribute cocaine
hydrochloride, cocaine base (crack), marijuana, and Ecstacy, we find the defendant,
AARON BROOKS,

NOT GUILTY

/ GUILTY

As to Count One of the indictment charging a violation of 21 U.S.C. §§ 846 and 841, that
is conspiracy to distribute and possession with the intent to distribute cocaine

hydrochloride, cocaine base (crack), marijuana, and Ecstacy, we find the defendant,
LASHONDA HALL,

NOT GUILTY
_Y.__ GUILTY
[{f you find either or both defendants guilty of Count One, please proceed to questions

A, B, C, D, but if you find neither of the defendants guilty of Count One, please ignore
questions A, B, C, D and proceed directly to question 3.]

Case 3:07-cr-00051-TAV-HBG Document 537 Filed 06/19/09 Page 1iof5 PagelD #: 4292
A. We, the members of the jury, find unanimously and beyond a reasonable doubt
that the conspiracy charged in Count One involved:

(check only one of the following)
Yo 5 kilograms or more of cocaine hydrochloride
500 grams, but less than 5 kilograms of cocaine hydrochloride
Less than 500 grams of cocaine hydrochloride
no cocaine hydrochloride
[Please proceed to question 2B.]|

B. We, the members of the jury, find unanimously and beyond a reasonable doubt
that the conspiracy charged in Count One involved:

(check only one of the following)
Y 50 grams or more of cocaine base (crack)
5 grams, but less than 50 grams of cocaine base (crack)
Less than 5 grams of cocaine base (crack)
no cocaine base (crack)
[Please proceed to question 2C.|

C. We, the members of the jury, find unanimously and beyond a reasonable doubt
that the conspiracy charged in Count One:

YO involved marijuana
did not involve marijuana

[Please proceed to question 2D.]

Case 3:07-cr-00051-TAV-HBG Document 537 Filed 06/19/09 Page 2o0f5 PagelD #: 4293
D. We, the members of the jury, find unanimously and beyond a reasonable doubt
that the conspiracy charged in Count One:

/ involved Ecstacy
did not involve Ecstacy
3. As to Count Two of the indictment charging a violation of 18 U.S.C. § 924(c), that
is, possession of a firearm in furtherance of the conspiracy in Count One, we find the
defendant, LASHONDA HALL,
NOT GUILTY
Vo GUILTY
4. As to Count Three charging a violation of 18 U.S.C. § 841, that is, possession with
intent to distribute marijuana, we find the defendant, LASHONDA HALL,
NOT GUILTY
Y_GuILTY
5. As to Count Four charging a violation of 18 U.S.C. § 924(c), that is, possession of a
firearm in furtherance of the drug trafficking crime in Count Three, we find the

defendant, LASHONDA HALL,

NOT GUILTY

So GUILTY

6. As to Count Seven charging a violation of 18 U.S.C. § 924(c), that is, possession of
a firearm in furtherance of the conspiracy in Count One, we find the defendant,
AARON BROOKS,

NOT GUILTY

vo GUILTY

Case 3:07-cr-00051-TAV-HBG Document 537 Filed 06/19/09 Page 3o0f5 PagelD #: 4294
7. As to Count Eight charging a violation of 21 U.S.C. § 841, that is, possession with
intent to distribute five-hundred (500) grams or more of cocaine hydrochloride, we
find the defendant, AARON BROOKS,

NOT GUILTY
Y~ Gumty
Uf yvou find defendant Brooks guilty of Count Eight, please proceed to question E, but
if you find defendant Brooks not guilty of Count Eight, please ignore question E and
proceed directly to question 8.]

E. We, the members of the jury, find unanimously and beyond a reasonable doubt
that the conspiracy charged in Count Eight involved:

(check only one of the following)
J 500 grams or more of cocaine hydrochloride

Less than 500 grams of cocaine hydrochloride

8. As to Count Nine charging a violation of 18 U.S.C. § 924(c), that is, possession of a
firearm in furtherance of the conspiracy in Count Eight, we find the defendant,
AARON BROOKS,

NOT GUILTY
/ GUILTY

9, As to Count Ten charging a violation of 18 U.S.C. § 922(g)(1), that is, being a felon

in possession of a firearm, we find the defendant, AARON BROOKS,

NOT GUILTY

4 GUILTY

Case 3:07-cr-00051-TAV-HBG Document 537 Filed 06/19/09 Page 4of5 PagelD #: 4295
10. As to Count Fifteen charging a violation of 18 U.S.C. § 1956, that is, conspiracy to
commit money laundering, we find the defendant, LASHONDA HALL,

NOT GUILTY

v GUILTY

Signatureof FOREPERSON

6-19-09

Date

Case 3:07-cr-00051-TAV-HBG Document 537 Filed 06/19/09 Page 5of5 PagelD #: 4296
